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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7       SINCO TECHNOLOGIES PTE LTD.,                      Case No. 17-cv-05517-EMC
                                   8                       Plaintiff,
                                                                                             ORDER GRANTING PLAINTIFF’S
                                   9              v.                                         MOTION FOR PRELIMINARY
                                                                                             INJUNCTION
                                  10       SINCO ELECTRONICS (DONGGUAN)
                                           CO. LTD., et al.,                                 Docket No. 54
                                  11
                                                           Defendants.
                                  12
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                                  13          The above-referenced case concerns trademark infringement and related federal and state

                                  14   torts. The plaintiff is SinCo Technologies Ptd, Ltd, a Singaporean company (“SinCo Singapore”).

                                  15   It initiated this lawsuit in September 2017, a year after filing a related lawsuit in state court. The

                                  16   following entities and persons were sued:

                                  17                   •   SinCo Electronics (Dongguan) Co., Ltd., a Chinese company, which also appears

                                  18                       to use the name XingKe Electronics (Dongguan) Co., Ltd. (“SinCo China”)1;

                                  19                   •   Ng Cher Yong, an employee of SinCo China and allegedly a former employee of

                                  20                       SinCo Singapore; and

                                  21                   •   Mark Liew, an employee of SinCo China and allegedly a former employee of

                                  22                       SinCo Singapore.

                                  23          In a second amended complaint, SinCo Singapore added more defendants to the case,

                                  24   namely, XingKe Electronics Technology Ltd. and Sincoo Electronics Technology Co., Ltd. (both

                                  25   companies affiliated with SinCo China2) and Mui Lang Tjoa (the CEO of SinCo China). For

                                  26
                                       1
                                  27    See SAC ¶ 19 (alleging that the two companies are actually the same entity).
                                       2
                                        Although the SAC does not clearly identify XingKe Electronics Technology Ltd. and Sincoo
                                  28   Electronics Technology Co., Ltd. as the same company, SinCo Singapore claims such in its
                                       motion. See Mot. at 5 (asserting that the companies “are identical and share the same Chinese
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                                   1   convenience, SinCo China and the affiliated companies shall hereinafter be collectively referred to

                                   2   as the “SinCo China entities.”

                                   3           Currently pending before the Court is SinCo Singapore’s motion for a preliminary

                                   4   injunction. SinCo Singapore asks that all Defendants (both the SinCo China entities and the

                                   5   individuals) and those acting in concert with them be prohibited from: (1) using SinCo

                                   6   Singapore’s trademarks or trademarks confusingly similar; (2) using the words “SinCo,” “Sincoo,”

                                   7   or “XingKe” and/or using a certain “SinCo” or “XingKe” logo and/or using “any variations of

                                   8   phonetic equivalent, color, capitalization, or color use”; and (3) from transferring, encumbering, or

                                   9   disposing of any interest in certain real property located in San Jose, California – a place that

                                  10   appears to be used by SinCo China and/or the SinCo China entities to do business. Docket No. 54

                                  11   (Prop. Order at 1).

                                  12           Only Mr. Ng filed an opposition to SinCo Singapore’s motion. He was also the only
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                                  13   defendant to attend the hearing on SinCo Singapore’s motion on October 25, 2018.

                                  14           Having considered the papers submitted, as well as the oral argument of counsel and all

                                  15   other evidence of record, the Court hereby GRANTS the motion for a preliminary injunction.

                                  16                         I.    FACTUAL & PROCEDURAL BACKGROUND

                                  17   A.      SinCo Singapore’s Version of Events

                                  18           SinCo Singapore’s version of events is as follows: SinCo Singapore is a company “with

                                  19   recognized expertise in the development, design, and sourcing of electronic components to U.S.

                                  20   companies.” Andara Decl., Ex. C (Chee Decl. ¶ 4). It provides to its customers “a wide selection

                                  21   of quality silicone rubber keypads and components.” Andara Decl., Ex. C (Chee Decl. ¶ 4). At

                                  22   one point in time, SinCo Singapore contracted with SinCo China “to manufacture components

                                  23   which SinCo [Singapore] had contracted and/or designed for U.S. customers.” Andara Decl., Ex.

                                  24   C (Chee Decl. ¶ 8).

                                  25           SinCo Singapore has registered trademarks for the word “SinCo” and the “SinCo” logo.

                                  26   See Andara Decl., Ex. C (Chee Decl. ¶ 6); Andara Decl. ¶ 14. SinCo Singapore initially allowed

                                  27

                                  28
                                       name”).
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                                   1   SinCo China to use its word mark and logo because SinCo China was “a contract manufacturer for

                                   2   [SinCo Singapore’s] projects” and “because it helped provide [a] uniform appearance to foreign

                                   3   customers. The license [to Singapore China] was limited to the scope of work as a contract

                                   4   manufacturer [for SinCo Singapore].” Andara Decl., Ex. C (Chee Decl. ¶ 7).

                                   5          The relationship between SinCo Singapore and SinCo China fell apart when the majority

                                   6   shareholder of SinCo China decided to sell his shares in SinCo China. “SinCo [Singapore]

                                   7   initially was interested in purchasing” the shares but, during due diligence,

                                   8
                                                      discovered multiple quality and health violations. When SinCo
                                   9                  [Singapore] asked [SinCo China] to rectify these problems, it did
                                                      not, and instead, by majority vote, the shares were sold to [a
                                  10                  company by the name of] KOTL. No further contracts were entered
                                                      into between SinCo [Singapore] and [SinCo China], who are now
                                  11                  competitors on the open market, competing for the same or similar
                                                      business in the U.S.
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                                  13   Andara Decl., Ex. C (Chee Decl. ¶ 10); see also Mot. at 4 (noting that the SinCo China shares

                                  14   were sold to KOTL in November 2015). After KOTL took over SinCo China, it purchased certain

                                  15   real property in San Jose, see Andara Decl., Ex. YY (grant deed, dated June 2016), which –

                                  16   apparently – was later used by SinCo China and/or the SinCo China entities to do business. See,

                                  17   e.g., Andara Decl., Ex. I (Liew Depo. at 17-18) (in deposition taken as part of state court

                                  18   proceeding, Mr. Liew testifying that he was staying at the San Jose property while he was in the

                                  19   United States); Andara Decl., Ex. K (Ng Depo. at 106) (in deposition taken as part of state court

                                  20   proceeding, Mr. Ng testifying that he stayed at the San Jose property when he traveled to

                                  21   California).

                                  22          Two of the individual defendants, Mr. Liew and Mr. Ng were, at one point in time,

                                  23   employees of SinCo Singapore. See Andara Decl. ¶ 27 et seq. (addressing Mr. Liew’s

                                  24   employment with SinCo Singapore; testifying that Mr. Liew’s employment began in June 2013);

                                  25   Andara Decl. ¶ 19 et seq. (addressing Mr. Ng’s employment with SinCo Singapore; testifying that

                                  26   Mr. Ng’s employment began in June 2003). While Mr. Liew and Mr. Ng were working for SinCo

                                  27   Singapore, they began to try to steal SinCo Singapore’s U.S. customers for SinCo China. They

                                  28   also continued to try to steal customers after leaving SinCo Singapore’s employment (in March
                                                                                         3
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                                   1   and June 2017). See Andara Decl. ¶¶ 42-43 (asserting that Mr. Liew resigned in March 2017 and

                                   2   Mr. Ng resigned in June 2017). Both before and after they were employed by SinCo Singapore,

                                   3   Mr. Liew and Mr. Ng – as well as the other individual defendant, Mr. Tjoa – falsely claimed to

                                   4   customers that they were representatives of SinCo Singapore when in fact they were working for

                                   5   the benefit of SinCo China.3 See, e.g., Andara Decl., Ex. C (Chee Decl. ¶ 19).

                                   6           Starting in January 2017, SinCo China began to file trademark applications with the

                                   7   USPTO, trying to get trademarks for the word “SinCo” and the “SinCo” logo.4 These applications

                                   8   were largely abandoned; others were suspended. See Andara Decl. ¶ 15. SinCo China also began

                                   9   to file trademark applications trying to get trademarks for the word “XingKe” and the “XingKe”

                                  10   logo. Some of the applications were abandoned but some are still “live.”5 See Andara Decl. ¶ 15.

                                  11   B.      Mr. Ng’s Version of Events

                                  12           Mr. Ng’s version of the events, not surprisingly, differs. His version of the events is as
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                                  13   follows: SinCo Singapore and SinCo China were “two highly intertwined companies that operated

                                  14   for many years sharing the same core name (‘Sinco’).” Opp’n at 1. The companies even had

                                  15   some common ownership, at least indirectly. See Opp’n at 1; see also Mot. at 4 (noting that SinCo

                                  16   China is owned in part by a Hong Kong entity (SinCo Holdings Groups Pt Ltd.) and that the Hong

                                  17   Kong entity has three individual shareholders, one of whom (Bryan Lim) owns SinCo Singapore);

                                  18   SAC ¶¶ 12, 16 (indicating the same).

                                  19           Although the companies were intertwined, they were also separate. For example, while

                                  20   SinCo Singapore had certain U.S. companies as customers, some of those companies were also

                                  21   independently customers of SinCo China. See Opp’n at 1-2. Also, even though Mr. Ng had, e.g.,

                                  22   paystubs using the “SinCo” core name, he was an employee of SinCo China, and not SinCo

                                  23

                                  24   3
                                         According to SinCo Singapore, Mr. Liew and/or Mr. Ng made multiple trips to the United States
                                  25   to steal SinCo Singapore customers, including in July 2016, December 2016, January 2017, and
                                       August 2017. See Mot. at 4, 6, 8-9.
                                  26   4
                                         KOTL applied for a U.S. trademark for “SINCO” even earlier – in September 2016. See Mot. At
                                  27   9.
                                       5
                                         Apparently, SinCo China successfully registered trademarks for the “SinCo” logo in China, but
                                  28   SinCo Singapore was able to get these trademarks nullified in April and May 2018. See Mot. at
                                       10.
                                                                                       4
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                                   1   Singapore. See Opp’n at 3.

                                   2           SinCo Singapore and SinCo China began to have a dispute after “Xu Shugong sold his

                                   3   majority of shares [in SinCo China] to a company called KOTL [a SinCo Singapore competitor] in

                                   4   2015.” Opp’n at 1.

                                   5           SinCo China now no longer uses the “SinCo” core name and instead uses the name

                                   6   “XingKe.” See Opp’n at 1 n.1 (noting that “[m]ost of the key events in this lawsuit occurred when

                                   7   [SinCo China] operated under the SinCo Electronics (Dongguan) name”); Andara Decl. ¶ 10

                                   8   (testifying that, in March 2017, SinCo China began to notify its customers that it would be

                                   9   operating as XingKe).

                                  10           The Court notes that SinCo Singapore takes issue with much of Mr. Ng’s version of the

                                  11   events – e.g., that Mr. Ng was never a SinCo Singapore employee, that SinCo China had an

                                  12   independent relationship with the U.S. customers of SinCo Singapore, etc. However, for purposes
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                                  13   of the pending motion, the disputed facts are not that material. That is, the disputed facts – while

                                  14   they might ordinarily go to the likelihood of success on the merits – are not that significant

                                  15   because Mr. Ng’s opposition is not predicated on the disputed facts and/or likelihood of success

                                  16   on the merits but rather is based on other grounds (e.g., issue preclusion, abstention, vague and

                                  17   overbroad preliminary injunction, lack of irreparable harm, etc.).

                                  18   C.      State Court Proceedings

                                  19           Based on its version of the events, SinCo Singapore brought the instant action in

                                  20   September 2017. The main claims asserted are trademark infringement and related claims.

                                  21           However, about a year before SinCo Singapore initiated this lawsuit, it filed a lawsuit

                                  22   against SinCo China, Mr. Ng., and Mr. Liew in state court for, inter alia, breach of contract and

                                  23   trade secret misappropriation. More specifically, the state court action was filed in October 2016.

                                  24           In the state court action, SinCo Singapore successfully obtained a preliminary injunction

                                  25   against Mr. Liew in June 2017. See Andara Decl., Ex. A (Liew preliminary injunction).

                                  26           Approximately a later, in August 2018, SinCo Singapore successfully obtained a

                                  27   preliminary injunction against Mr. Ng. See Andara Decl., Ex. B (Ng preliminary injunction). The

                                  28   preliminary injunction against Mr. Ng prohibited him:
                                                                                         5
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                                   1              •     From “using or disclosing the prices charged by [SinCo Singapore] to customers

                                   2                    located in California” (until February 28, 2019, the last day of any relevant

                                   3                    eighteen-month purchase cycle);

                                   4              •     From “representing himself as [SinCo Singapore’s] employee,” a restriction

                                   5                    applicable to “all communications directed to, and all interactions with, employees

                                   6                    or contractors of companies located in California”;

                                   7              •     From “sending any electronic mail communications with the word ‘Sinco’ in the

                                   8                    message or in any electronic mail addresses”;

                                   9              •     From “using business cards that include the word ‘Sinco’”;

                                  10              •     From using SinCo Singapore’s trademarks registered in the United States, a

                                  11                    restriction applicable to “all communications directed to, and interactions with,

                                  12                    employees or contractors of companies located in California.”
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                                  13   Andara Decl., Ex. B (Order at 8). The state court’s preliminary injunction order expressly stated

                                  14   that that “[n]othing in this preliminary injunction shall prevent [Mr. Ng] from identifying his

                                  15   employer as Xingke Electronics.” Andara Decl., Ex. B (Order at 8).

                                  16                                          II.      DISCUSSION

                                  17   A.      Notice

                                  18           Federal Rule of Civil Procedure 65(a) provides that a “court may issue a preliminary

                                  19   injunction only on notice to the adverse party.” Fed. R. Civ. P. 65(a) (emphasis added). In the

                                  20   instant case, SinCo Singapore seeks a preliminary injunction against all Defendants; at the

                                  21   hearing, the Court questioned SinCo Singapore as to whether it had given notice of the

                                  22   preliminary injunction motion to all Defendants. Based on the then-existing record, it appeared

                                  23   that notice had been given to Mr. Ng (the only defendant who has appeared in this action) but

                                  24   there was no indication that notice had been given to any other defendant, including SinCo China.6

                                  25           At the hearing, SinCo Singapore represented that it had given some form of notice to all

                                  26
                                  27   6
                                        The Court acknowledges that SinCo Singapore secured an entry of default against SinCo China
                                  28   prior to filing the motion for a preliminary injunction. Nevertheless, that does not mean that
                                       SinCo Singapore was relieved of its obligation to give notice of the motion to SinCo China.
                                                                                          6
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                                   1   Defendants – e.g., by email. The Court ordered SinCo Singapore to provide evidence to support

                                   2   its claim of notice.

                                   3           SinCo Singapore has now provided a declaration to support its claim of notice. See Docket

                                   4   No. 84 (Trevino Decl.). The declaration reflects that SinCo Singapore gave email notice to SinCo

                                   5   China (on September 28, 2018, and October 19, 2018, i.e., prior to the hearing on the preliminary

                                   6   injunction motion). Although there is no indication that notice of the preliminary injunction

                                   7   motion was given specifically to Mr. Tjoa or the SinCo China entities, the Court finds that the

                                   8   email notice on SinCo China constitutes sufficient notice on Mr. Tjoa and the SinCo China entities

                                   9   – the former because he is the CEO of SinCo China and the latter because of their close

                                  10   relationship with SinCo China. However, at this juncture, there is an insufficient basis to impute

                                  11   notice on Mr. Liew. There is no indication that he is a high-level employee of SinCo China such

                                  12   that notice on SinCo China would fairly be known by him. That being said, as a practical matter,
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                                  13   any lack of notice on Mr. Liew is not significant because the Court is ordering a preliminary

                                  14   injunction that will cover the above defendants, as well as those acting in concert with them,

                                  15   which would naturally include Mr. Liew.

                                  16   B.      State Court Preliminary Injunction

                                  17           According to Mr. Ng, the Court should deny SinCo’s motion for a preliminary injunction

                                  18   (at least as to him) based on preclusion grounds. More specifically, Mr. Ng notes that, in the state

                                  19   court action, the state court already issued a preliminary injunction against him in August 2018.

                                  20   See Andara Decl., Ex. B (Ng preliminary injunction).

                                  21           This argument, however, is not compelling because, among other things, the preliminary

                                  22   injunction issued by the state court is clearly directed to conduct in California only, and, here,

                                  23   SinCo Singapore seeks a broader injunction – implicitly applicable nationwide. Although it

                                  24   appears that most of the U.S. customers that SinCo China allegedly tried to steal are based in

                                  25   California, one seems to be based in Massachusetts and, presumably, SinCo Singapore also has

                                  26   other non-California-based customers.

                                  27   C.      Traditional Preliminary Injunction Test

                                  28
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                                                      A party seeking a preliminary injunction must meet one of two
                                   1                  variants of the same standard. Under the original Winter standard, a
                                                      party must show “that he is likely to succeed on the merits, that he is
                                   2                  likely to suffer irreparable harm in the absence of preliminary relief,
                                                      that the balance of equities tips in his favor, and that an injunction is
                                   3                  in the public interest.” Winter v. NRDC, Inc., 555 U.S. 7, 20 (2008).
                                                      Under the “sliding scale” variant of the Winter standard, “if a
                                   4                  plaintiff can only show that there are ‘serious questions going to the
                                                      merits’ – a lesser showing than likelihood of success on the merits –
                                   5                  then a preliminary injunction may still issue if the ‘balance of
                                                      hardships tips sharply in the plaintiff’s favor,’ and the other two
                                   6                  Winter factors are satisfied.”
                                   7   All. for the Wild Rockies v. Pena, 865 F.3d 1211, 1217 (9th Cir. 2017).

                                   8          1.      Likelihood of Success on the Merits/Serious Questions Going to the Merits

                                   9          Regarding the likelihood of success on the merits, Mr. Ng does not really challenge SinCo

                                  10   Singapore’s position that, at the very least, there are serious questions going to the merits. At

                                  11   most, he seems to assert that a preliminary injunction is not necessary because SinCo China no

                                  12   longer uses “SinCo” anymore and uses “XingKe” instead, which is a sufficiently different term
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                                  13   that there will be no consumer confusion. Mr. Ng underscores that even the state court’s

                                  14   preliminary injunction order allowed him to still use “XingKe.”

                                  15          Mr. Ng’s position has some merit. That is, even if the Chinese characters for “SinCo” and

                                  16   “XingKe” are exactly the same, this case was not filed in China and is focused on U.S. customers

                                  17   of SinCo Singapore. There is no concrete evidence that the U.S. customers have knowledge of

                                  18   Chinese and, therefore, the question is whether a U.S. customer would find the English words

                                  19   “SinCo” and “XingKe” confusingly similar. While there may be some phonetic similarities

                                  20   between the words, the similarities are minor from the perspective of an English speaker, cf. Mot.

                                  21   at 15 (asserting that “the words ‘Sin’ and ‘Xing’ sound identical when pronounced by a Chinese

                                  22   speaker, despite the different spelling”) (emphasis added); also, the English spellings are

                                  23   sufficiently different that customer confusion seems unlikely. This same analysis applies to the

                                  24   “SinCo” and “XingKe” logos, even taking into account that the logos bear some similarities (e.g.,

                                  25   the first syllable in green and the second in red).

                                  26          At the hearing, SinCo Singapore argued that allowing Mr. Ng to use “XingKe” would, in

                                  27   fact, cause consumer confusion because the Court must consider the context in which Mr. Ng has

                                  28   used and would continue to use “XingKe,” as well as the context in which SinCo China and the
                                                                                             8
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                                   1   other defendants have used and would continue to use the term. For example, SinCo Singapore

                                   2   contends that, if one of its customers were to look at SinCo China’s website as it currently stands,

                                   3   the customer would likely think that “XingKe” (as the company is now named) is the same

                                   4   company as SinCo Singapore, or at least is related to SinCo Singapore, based on, e.g., the pictures

                                   5   displayed on the website and the way that the company describes its history. SinCo Singapore

                                   6   also contends that some of its U.S. customers have Chinese-speaking employees.

                                   7          SinCo Singapore’s concerns, however, can easily be addressed by having Mr. Ng – as well

                                   8   as the remaining defendants – use a disclaimer. That is, Mr. Ng and the remaining defendants may

                                   9   use “XingKe” (as well as the “XingKe” logo) so long as they include a disclaimer that XingKe is

                                  10   not affiliated in any way with SinCo Singapore. Such a disclaimer should be included on, e.g.,

                                  11   websites and written communications to customers; moreover, a disclaimer should also be

                                  12   provided in oral communications.7 Notably, at the hearing, SinCo Singapore acknowledged that a
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                                  13   disclaimer would largely address its concerns, and Mr. Ng made no claim that a disclaimer would

                                  14   be unduly burdensome. (He simply questioned how effective a disclaimer would be, at least if

                                  15   given only by him.)

                                  16          While the Court, therefore, shall permit use of “XingKe” (as well as the “XingKe” logo)

                                  17   on the condition described above, it shall enjoin Mr. Ng and the remaining defendants from using

                                  18   “SinCo” and “Sincoo” (or “SinCoo”). The use of “SinCo” would clearly engender consumer

                                  19   confusion and, as it appears that SinCo China and the related entities no longer use the word

                                  20   “SinCo,” a preliminary injunction barring use of the term should not be any burden on the

                                  21   Defendants.8 As for “Sincoo” (or “SinCoo”), because the term is extremely similar to “SinCo,”

                                  22   both in spelling and phonetically, the Court also finds a reasonable likelihood of consumer

                                  23   confusion to justify a preliminary injunction.

                                  24
                                       7
                                  25     For oral communications, the Court requires a disclaimer only where reasonable. For example,
                                       once a customer is orally informed that Defendants have no affiliation with SinCo Singapore, the
                                  26   Court does not expect Defendants to repeatedly make the disclaimer to the same customer in
                                       subsequent oral communications.
                                       8
                                  27     Of course, Defendants are only barred from identifying or describing themselves (or their
                                       products or services) as being “SinCo.” They may still use “SinCo” as part of the disclaimer
                                  28   described above. Also, they may still refer to “SinCo” if they are identifying or describing SinCo
                                       Singapore itself (or SinCo Singapore’s products or services).
                                                                                        9
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                                   1           2.      Irreparable Injury/Balance of Hardships

                                   2           As for irreparable injury, Mr. Ng’s basic argument is that damages are an adequate remedy

                                   3   for SinCo Singapore because any injury is all in the past – i.e., because SinCo China no longer

                                   4   uses “SinCo” and uses “XingKe” instead. However, it is not clear that SinCo China and/or the

                                   5   remaining defendants do not still use the confusingly similar word “Sincoo” or “SinCoo” (e.g., in

                                   6   a website name) and it is possible that use of “XingKe” may in context be confusing (absent a

                                   7   disclaimer). That being the case, SinCo Singapore has sufficiently established a likelihood of

                                   8   irreparable injury (e.g., loss of goodwill and/or reputation), or at least a balance of hardships that

                                   9   tips strongly in its favor.

                                  10           3.      Summary

                                  11           For the foregoing reasons, a preliminary injunction against Defendants is warranted but not

                                  12   to the extent sought by SinCo Singapore. Defendants are barred from using the terms “SinCo”
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                                  13   and “Sincoo” (or “SinCoo”) to identify or describe themselves or their products or services.

                                  14   However, to the extent SinCo Singapore has asked that the preliminary injunction also cover any

                                  15   variations of, e.g., phonetic equivalent, that is premature as there is no indication that Defendants

                                  16   are using any additional terms that might be phonetic equivalents. To the extent SinCo Singapore

                                  17   has asked that the preliminary injunction also cover any variations of color, capitalization, or color

                                  18   use, that is not necessary as Defendants are barred from using “SinCo” and “Sincoo” (or

                                  19   “SinCoo”).

                                  20           The Court shall not require SinCo Singapore to post a bond as the limited preliminary

                                  21   injunction being ordered by the Court poses no real burden on the defendants at issue.

                                  22   D.      Fraudulent Transfer

                                  23           Finally, the Court addresses SinCo Singapore’s request that, as part of the preliminary

                                  24   injunction, the Court enjoin all Defendants from transferring, encumbering, or disposing of any

                                  25   interest in certain real property located in San Jose, California – a place that appears to be used by

                                  26   SinCo China and/or the SinCo China entities to do business. Docket No. 54 (Prop. Order at 1);

                                  27   see also Harley-Davidson Credit Corp. v. Monterey Motorcycles, Inc., No. 5:12-cv-01864 EJD,

                                  28   2012 U.S. Dist. LEXIS 53192, at *7 (N.D. Cal. Apr. 16, 2012) (stating that, “[a]lthough pure
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                                   1   economic loss alone is not normally sufficient to the issuance of a TRO, the possibility that a

                                   2   defendant will dissipate assets which could satisfy a judgment can constitute irreparable harm”).

                                   3           That request for relief is denied for several reasons.

                                   4           First, there is no indication that any defendant owns the real property at issue. Although it

                                   5   appears that SinCo China’s majority shareholder, KOTL, owns the property, KOTL is not a part to

                                   6   this lawsuit.

                                   7           Second, “[a] party seeking an asset freeze must show a likelihood of dissipation of the

                                   8   claimed assets, or other inability to recover monetary damages, if relief is not granted.” Johnson

                                   9   v. Couturier, 572 F.3d 1067, 1085 (9th Cir. 2009). Here, SinCo Singapore has failed to

                                  10   adequately show a likelihood of dissipation of the claimed assets or other inability to recover

                                  11   monetary damages. In its brief, SinCo Singapore states that “[t]he Ninth Circuit has cited the

                                  12   ‘international aspect’ of a defendant’s business as a factor in favor of a finding that a defendant
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                                  13   will dissipate assets.” Mot. at 23 (citing Reebok Int’l, Ltd. v. Marnatech Enters., 970 F.2d 552,

                                  14   560 (9th Cir. 1992)). But that is not clear from the Ninth Circuit opinion, as opposed to the

                                  15   district court opinion. See Reebok Int’l, Ltd. v. Marnatech Enters., Inc., 737 F. Supp. 1521, 1527

                                  16   (S.D. Cal. 1990) (“Due to the international aspect of the defendants[‘] business, the Court is

                                  17   concerned that unless the assets are frozen, defendants may hide their allegedly ill-gotten funds.”).

                                  18   And in any event, even if Defendants’ “international status” was a factor, it could hardly be the

                                  19   sole reason to support an asset freeze as otherwise asset freezes would be routine in cases once

                                  20   there is an international defendant.

                                  21   ///

                                  22   ///

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                                   1                                       III.     CONCLUSION

                                   2          For the foregoing reasons, the Court grants SinCo Singapore’s preliminary injunction.

                                   3   Defendants, as well as those acting in concert with them, are barred from using the terms “SinCo”

                                   4   or “SinCoo” (including in any logo) to identity or otherwise describe themselves or their products

                                   5   or services. Defendants, in addition to those acting in concert with them, are permitted to use the

                                   6   term “XingKe” (including in any logo) so long as they include a disclaimer that Defendants are

                                   7   not affiliated in any way with SinCo Singapore. As discussed above, written disclaimers are

                                   8   required as well as reasonable oral disclaimers.

                                   9          SinCo Singapore shall immediately serve a copy of this order on all Defendants and,

                                  10   within a week of the date of this order, file a proof of service establishing how service was

                                  11   effected on each Defendant.

                                  12          This order disposes of Docket No. 54.
Northern District of California
 United States District Court




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                                  14          IT IS SO ORDERED.

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                                  16   Dated: October 30, 2018

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                                  18                                                      ______________________________________
                                                                                           EDWARD M. CHEN
                                  19                                                       United States District Judge
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